Case 1:19-cr-00253-TSE Document 308 Filed 06/16/20 Page 1 of 3 PagelD# 1518

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA )
)
)
v. ) Criminal No. 1:19-CR-253
)
KRISTOPHER LEE DALLMANN, et al., )
Defendants. )
ORDER

In this criminal copyright infringement case, a June 12, 2020 Order scheduled the
following matters for Friday, July 10, 2020 at 10:00 a.m.: (1) the government’s Renewed Motion
Requesting Confirmation of Waiver of Attorney-Client Privilege, (2) defendant Kristopher
Dalimann’s Motion to Suppress Statements and Evidence, (3) defendant Jared Edward Jaurequi’s
Motion to Suppress Statements and Evidence, (4) the hearing on the third petition for action on
conditions of defendant Jaurequi’s pretrial release and its addenda, and (5) the hearing on the
petition for action on conditions of defendant Dallmann’s pretrial release. Counsel for defendant
Jaurequi has filed a Motion to Continue the hearing scheduled for July 10, 2020 at 10:00 a.m. to
July 17, 2020 at 10:00 a.m. to accommodate a scheduling conflict. The government opposed this
motion. Counsel for defendant Felipe Garcia also informed the Courtroom Deputy of a
scheduling conflict with the July 10, 2020 hearing.

To accommodate counsel for defendants Jaurequi and Garcia, the hearing currently
scheduled for July 10, 2020 at 10:00 a.m. will be rescheduled to July 9, 2020 at 10:00 a.m. There
will be no further continuances of the hearings now scheduled for July 9, 2020. It is necessary to
provide a date certain on which these hearings will be held because defendants must travel or be

transported from Las Vegas, Nevada to the Eastern District of Virginia. Counsel for the
Case 1:19-cr-00253-TSE Document 308 Filed 06/16/20 Page 2 of 3 PagelD# 1519

government and defendants are advised to resolve any potential scheduling conflicts so as to
permit counsel to attend the hearings now scheduled for July 9, 2020 at 10:00 a.m.

Defendant Dallmann and his counsel and defendant Jaurequi and his counsel must advise
the Court in pleadings filed no later than 5:00 p.m. on Friday, June 19, 2020 whether defendants
Dallmann and Jaurequi intend to appear voluntarily in the Eastern District of Virginia on July 9,
2020. In the event that a defendant or his counsel indicate in a pleading that the defendant will
not voluntarily appear in the Eastern District of Virginia for the July 9, 2020 hearing, a bench
warrant will issue for that defendant’s arrest and he will be transported to this District for the
July 9, 2020 hearing.

Defendants Courson, Garcia, Huber, and Vaillant are directed to appear in-person at the
July 9, 2020 hearing or waive their appearance at the July 9, 2020 hearing by filing a waiver
through counsel on or before Wednesday, July 8, 2020.

Accordingly,

It is hereby ORDERED that defendant Jaurequi’s Motion to Continue (Dkt. 304) is
GRANTED IN PART insofar as the following hearings are SCHEDULED for Thursday, July
9, 2020 at 10:00 a.m.: (1) the government’s Renewed Motion Requesting Confirmation of
Waiver of Attorney-Client Privilege (Dkt. 197), (2) defendant Kristopher Dallmann’s Motion to
Suppress Statements and Evidence (Dkt. 242), (3) defendant Jared Edward Jaurequi’s Motion to
Suppress Statements and Evidence (Dkt. 275), and (4) the hearing on the third petition for action
on conditions of defendant Jaurequi’s pretrial release and its addenda (Dkts. 199, 221, 264)

(5) the hearing on the petition for action on conditions of defendant Dallmann’s pretrial release
(Dkt. 257).

It is further ORDERED that defendant Dallmann and his counsel and defendant Jaurequi
Case 1:19-cr-00253-TSE Document 308 Filed 06/16/20 Page 3 of 3 PagelD# 1520

and his counsel are DIRECTED to advise the Court in pleadings filed no later than 5:00 p.m. on
Friday, June 19, 2020 whcther defendants Dallmann and Jaurequi intend to appear voluntarily
in the Eastern District of Virginia on July 9, 2020. In the event that a defendant or his counsel
indicate in a pleading that the defendant will not voluntarily appear in the Eastern District of
Virginia for the July 9, 2020 hearing, a bench warrant will issue for that defendant’s arrest and
he will be transported to this District for the July 9, 2020 hearing.

It is further ORDERED that counsel for defendant Dallmann is DIRECTED to comply
with the Department of Justice’s Touhy regulations if counsel seeks to obtain the testimony of
Department of Justice employees at the July 9, 2020 hearing.

It is further ORDERED that defendants Courson, Garcia, Huber, and Vaillant are
DIRECTED to appear in-person at the July 9, 2020 hearing or waive their appearance at the
July 9. 2020 hearing by filing a waiver through counsel on or before Wednesday, July 8, 2620.

The Clerk is directed to send a copy of this Order to all counsel of record, the United
States Marshals Service, the Probation Office, and the Pretrial Services Office.

Alexandria, Virginia
June 16, 2020

   
 

T. S. Ellis, NI
United States Distfict Judge
